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     Exhibit 406
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THOMAS A. CLARE, P.C.                                                                           MEGAN L. MEIER

                                                  February 12, 2021

    Via Email

        Christina Bobb
        565 Pennsylvania Ave NW #803
        Washington, D.C. 20001
        christinabobb@hotmail.com

             Re:     False Statements About Dominion
    Dear Ms. Bobb:

             Our firm is defamation counsel to US Dominion Inc.1

          Earlier this week you tweeted a link to a story posted on The Gateway Pundit that falsely ties
    Dominion and one of its products to accusations of “machine fraud” in Windham, New Hampshire.
    Your tweet falsely claims, “HUGE DEVELOPMENT: Hand Recount Finds Dominion Voting
    Machines Shorted EVERY REPUBLICAN Candidate in Windham, New Hampshire, 300 Votes!”2




    1
      We also represent and write on behalf of its subsidiaries, Dominion Voting Systems, Inc. and Dominion Voting
    Systems Corporation (collectively, “Dominion”).
    2
      ChristinaBobb (@christina_bobb) Twitter Feb.10, 2021, 8:33 p.m., https://twitter.com/christina_bobb/status/13596
    76873668714497?s=20.
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Your tweet includes a doctored picture of Dominion’s Collapsible ImageCast ® Precinct Tabulator
Bin with the phrase “System Safety Compromised.”                    You repeated and promoted
The Gateway Pundit’s false claims by blaming Dominion machines for accusations about products
that were actually manufactured by Dominion competitors. The story says that a “believable hand
recount” confirmed Dominion “machine-cheating” and stealing “roughly 300 votes” from
Republican candidates in Windham, New Hampshire. (Each of the Republican candidates at issue
won their respective races.) Not only did you publish Dominion Marks without permission in a
story that has nothing to do with Dominion machines, but you included Dominion Marks to
intentionally to trick your followers into believing that the article was actual proof of Dominion
rigging the U.S. presidential election. This is demonstrably false.

        In reality, what you described as a “HUGE DEVELOPMENT” just recycles three-month-old
accusations about a disputed recount in New Hampshire that did not alter the outcome of that
election. Back in November when this was first reported, New Hampshire Secretary of State
Bill Gardner explained that the discrepancy is likely due to “human error in either adding the totals
on election night or transcribing the final results.”3 These facts are conveniently omitted from your
post.
        By falsely tying Dominion products to your claims about another manufacturer’s voting
machines, you expose yourself to significant penalties for violating Dominion’s intellectual property
rights under applicable copyright and trademark protection statutes. Accordingly, Dominion
requires that you take immediate steps to clear up the product confusion that you intentionally
created. At minimum, you must remove the tweet displayed above, immediately publish a
prominent correction online explaining that your statements about Dominion machines are false,
that Dominion machines did not “cheat the election,” that Dominion machines were not used in
Windham, New Hampshire, and that your use of Dominion Marks was not authorized.
        But this latest post is just one example of the numerous lies that you have spread about
Dominion since Election Day. In one OAN segment, you previously false claimed that Dominion
“orchestrated one of the most coordinated attempts to steal a presidential election in American
history.” In that same interview you also said, “Dominion has ties to Venezuela,” “Dominion is not
safe – and it appears to be intentionally not to be safe.”

         In reality, Dominion was created in John Poulos’s basement in Toronto—more than 2,000
miles away from Venezuela—to help blind people vote on paper ballots. Its systems are certified
under standards promulgated by the U.S. Election Assistance Commission (“EAC”). This involves
a rigorous review and testing process conducted by independent laboratories accredited by the EAC,
and Dominion designed the voting systems to be auditable and include a paper ballot backup to
verify results. Because of these safeguards, there is overwhelming direct evidence that conclusively
disproves your claims against Dominion—namely, the millions of paper ballots that were audited
and recounted by bipartisan election officials, which confirmed that Dominion accurately counted
votes on paper ballots. Yet rather than accepting this hard evidence—and the word of other



3
 Christopher Maidment, NH Election Recount Update – Thursday November 12, NH Journal, (Nov. 12, 2020), available
at, https://insidesources.com/nh-election-recount-update-thursday-november-12.



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Republicans like Attorney General Bill Barr, Chris Krebs, and Mitch McConnell, you falsely accused
Dominion of “cyber manipulation.”

        In that November 18 interview you promised viewers “information will come out” to
corroborate your wild claims. But almost three months later, the only “evidence” that you have was
manufactured by documented fraudsters and longtime con artists. One such example is your recent
segment on OAN discussing Edward Solomon—who you describe as “a mathematician”—to support
your false claims about Dominion rigging the election. As an initial matter, Solomon has already
explained that his “mathematical” accusations about “vote ratios” changing the outcome of the
election is not attributable to Dominion. Setting that aside, Solomon is not a legitimate expert.
Rather, he’s a convicted felon recently released from prison who works installing swing sets on
Long Island. Solomon says he “attended” college at Stony Brook, but he does not represent that he
graduated or otherwise obtained a college degree. 4 And instead of being employed as a
mathematician, his social media profiles tell a different story, describing his work as an “Installer”
at a swing set construction company, and as a “Carpenter/Laborer” at a construction company.5
These facts demonstrate that Solomon is not a legitimate expert. But you concealed all of this
information from your viewers so you could continue to peddle disinformation about Dominion.

        In addition to citing Solomon as a legitimate authority, you relied on Russell Ramsland;
another so-called expert claiming that his “forensic audit” demonstrates that the election results in
Michigan were a PHYSICAL IMPOSSIBILITY.”6 Russell Ramsland is a “Deep State” conspiracy
theorist in cahoots with Sidney Powell who was selected not because Ramsland has election security
expertise, but because he was determined to promote the false preconceived narrative that the
election had been fixed. Ramsland has publicly claimed, among other things, that George Soros
helped form the “Deep State” in Nazi Germany in the 1930s—along with President
George H.W. Bush’s father, the Muslim Brotherhood, and “leftists.”7 Mr. Soros was born in 1930.

        Before you touted his nonsense as a “forensics report,” Ramsland had been publicly
discredited for making false claims of overvoting in Michigan, which Ramsland based on vote counts
from an entirely different state—Minnesota.8 Indeed, a Delaware judge determined that Ramsland
provided “materially false information” in support of his claims of vote manipulation9 when he


4
  See Mr. Solomon’s LinkedIn is available here: https://www.linkedin.com/in/edward-solomon-965842145/.
5
   Mr. Solomon’s personal Facebook page contains details about his work and education, available at,
https://www.facebook.com/solomonscourge/about_work_and_education.
6
  Joe Hoft, BOOM: Election Fraud Expert Russ Ramsland Files Affidavit Showing ‘PHYSICAL IMPOSSIBILITY’ of
Election      Results       in     Michigan,        The       Gateway       Pundit     (Nov.     19,     2020),     available   at,
https://www.thegatewaypundit.com/2020/11/boom-election-fraud-expert-russ-ramsland-files-affidavit-showing-
physical-impossibility-election-results-michigan/.
7
  John Savage, Texas Tea Partiers Are Freaking Out Over ‘Deep State’ Conspiracy Theories, Vice (Sept. 20, 2018), available at,
https://www.vice.com/en/article/mbwgxx/texas-tea-partiers-are-freaking-out-over-deep-state-conspiracy-theories.
8
     Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate claims about vote, PolitiFact (Dec. 4, 2020), available at, https://www.politifact.com/factchecks/2020/dec/04
/russell-james-ramsland-jr/affidavit-michigan-lawsuit-seeking-overturn-electi/.; see also, Louis Jacobson and Noah Y. Kim,
Giuliani cites affidavit with crucial errors in press conference, PolitiFact (Nov. 20, 2020), available at, https://www.politifact.
com/factchecks/2020/nov/20/rudy-giuliani/giuliani-cites-affidavit-crucial-errors-press-conf/.
9
  Rule to Show Cause, Page v. Oath Inc., No. S20C-07-030 (Del. Super. Ct. Dec. 18, 2020).



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referenced and cited locations in Minnesota when alleging voter fraud in Michigan.10 Ramsland’s
so-called “forensics report” of the Dominion machines in Antrim County, Michigan, contains a
staggering number of inaccuracies; obvious misunderstandings of election procedures, hardware,
and software; and other indicia of unreliability. Even though Ramsland cites to “experts” upon
whom he purportedly relied in creating his report, he does not identify a single one. Nor does he
identify any of their credentials or prior experience—other than the vaguest reference to a handful
of government agencies—to justify their designation as “experts.”11 And Ramsland does not identify
any experience that he, or any of his so-called “experts,” have in elections or election hardware or
software.

         Additionally, Ramsland references the “allowable election error rate established by the
Federal Election Commission.” The Federal Election Commission does not regulate voting
machines or software. It regulates campaign finance.12 Ramsland confused—or did not bother to
research the differences between—the FEC and the EAC.13 Dominion’s election voting system suite
is, of course, certified by the EAC.14

        Apart from these red flags indicating he is no expert at all, Ramsland also illustrates a gross
misunderstanding of the machines and software in the details of his report. For example, he claims
that his “forensics team” “perform[ed a] forensic duplication of the Antrim County Election
Management Server running Dominion Democracy Suite 5.5.3-002.” But there is no Democracy
Suite 5.5.3-002. Instead, 5.5.3-002 is the version of the ImageCast Precinct tabulator (i.e., the actual
scanner), not the election management server or software.15 This demonstrates that Ramsland is
incapable of telling the difference between the relevant hardware, software, and servers involved—or
simply did not take care to do so. Ramsland also fails to understand the difference between—or
intentionally distorted—adjudication software (which is an optional component of Dominion’s
voting system suite) and the process of adjudicating a ballot. In fact, Antrim County only purchased
(and therefore only used) certain components of Dominion’s voting system suite; critically, Antrim
County neither purchased nor used—nor possessed the hardware required to use—the adjudication
software.16 This did not prevent Ramsland from falsely claiming that “all adjudication log entries
for the 2020 election cycle are missing” and must have been “manually removed.”



10
      Clara Hendrickson, Affidavit in Michigan lawsuit seeking to overturn election makes wildly
inaccurate claims about vote, PolitiFact (Dec. 4, 2020), available at, https://www.politifact.com/factchecks/2020/dec/04
/russell-james-ramsland-jr/affidavit-michigan-lawsuit-seeking-overturn-electi/.
11
    Pet. Notice of Suppl. Authority, King v. Whitmer, No. 20-815 (S. Ct. Dec. 13, 2020), available
at, https://www.supremecourt.gov/DocketPDF/20/20-
815/163875/20201215164905775_Final%20Michigan%20Notice%20of%20Supplemental%20Authority.pdf.
12
   Mission and history, FEC, available at, https://www.fec.gov/about/mission-and-history/.
13
       How the U.S. Election Assistance Commission Facilitates Fair and Secure Elections, EAC,
available at, https://www.eac.gov/news/2020/12/03/how-us-election-assistance-commission-facilitates-fair-and-secure-
elections/.
14
   Certificate of Conformance, EAC (Sept. 14, 2018), available at, https://www.eac.gov/sites/default/files/voting_syst
em/files/DSuite55_CertConf_Scope%28FINAL%29.pdf.
15
   Declaration of Ryan Macias, FactCheck.org, available at, https://cdn.factcheck.org/UploadedFiles/Rebuttal_ASOG
-Antrim_Report.pdf.
16
   Id.



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        Finally, Ramsland’s specific claim of a 68% “error rate” evidences a fundamental
misunderstanding of election software. Ramsland claims to have used the tabulation logs as the
source for his supposed “error rate.” But the tabulation logs do not reflect the machine’s tabulation
of votes. They record activities logged by the machine during the tabulation process. 17 So
Ramsland’s claim that “these … tabulation totals were used as the official results” is false (because
they are a recording of machine activity, not votes). Simply put, Ramsland does not understand
what he is looking at.

        While Ramsland claims that a huge percentage of machine activity reflected in the tabulation
logs were “errors” or “warnings,” he gives no explanation of how he identified or defined an “error”
or “warning.” Ramsland references three settings—“reverse,” “divert,” and “override”—as examples
of these so-called “critical errors” or “warnings.” But these are not “errors.” They are parameters
used in the tabulator to handle ballots that—for example—include write-in candidates or ballots that
contain votes for two candidates for the same office. Calling these “errors” is analogous to claiming
that the low fuel indicator light turning on in a car is an “error”—it is of course not an error; the car
is operating precisely how it is supposed to. Similarly, just because the tabulator recorded, for
example, “divert” does not mean that there was error with the ballot or the vote; precisely the
opposite—it means that the machine operated properly in response to that ballot.18 This shows that
Ramsland does not understand—or did not take care to distinguish—the difference between an actual
error and proper functioning.

         People who are actually knowledgeable about election security and procedures in
Antrim County promptly, publicly, and forcefully rebutted Ramsland’s report. Antrim County
officials determined—and publicly announced—that Ramsland’s report was “riddled with false and
unsupported claims, baseless attacks, and incorrect use of technical terms.”19 Similarly, the former
acting director of the EAC’s Voting System Testing and Certification program said that Ramsland’s
report showed a “grave misunderstanding” of Antrim County’s voting system and “a lack of
knowledge of election technology and process.”20 Michigan’s attorney general and secretary of state
issued a joint statement that Ramsland’s report was “critically flawed, filled with dramatic
conclusions without any evidence to support them.”21 The Republican county clerk who made the




17
     See, Paul Egan & Clara Hendrickson, Trump tweet wrongly suggests there were defects with
Michigan voting machines, The Detroit Free Press (Dec. 15, 2020), available at, https://www.freep.com/story/news/polit
ics/elections/2020/12/15/trump-fact-check-defect-voting-machines-michigan/3902951001/ .
18
   Angelo Fichera, Audit in Michigan County Refutes Dominion Conspiracy Theory, FactCheck.org (Dec. 18, 2020), available
at, https://www.factcheck.org/2020/12/audit-in-michigan-county-refutes-dominion-conspiracy-theory/.
19
   See Ali Swenson, Report spreads debunked claims about Dominion machines in Michigan county, Associated Press (Dec. 15,
2020), available at, https://apnews.com/article/fact-checking-afs:Content:9847904839.
20
     See Todd Spangler, Former election security chief for Trump knocks down Antrim County
report, The Detroit Free Press (Dec. 16, 2020), available at, https://www.freep.com/story/news/politics/elections/202
0/12/16/antrim-county-report-debunked-by-former-trump-election-official/3923499001/.
21
   AG, SOS: Plaintiff’s Report in Antrim County Election Lawsuit Demonstrates Lack of Credible Evidence in Widespread Fraud
or     Wrongdoing,      Michigan      Dep’t    of     Attorney      General    (Dec.     14,     2020),     available    at,
https://www.michigan.gov/ag/0,4534,7-359-92297_47203-547422--,00.html.



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mistake that resulted in the inaccurate unofficial results stated that Ramsland’s report contained
“many misleading statements” and was “simply not accurate.”22

                                                      ***
        With this letter, Dominion formally demands that you retract your false accusations about
Dominion and issue a public apology. Dominion is determined to set the record straight and to
defend its good name. It has already filed suits against Sidney Powell and Rudy Giuliani. More will
follow. We are enclosing copy of Dominion’s complaints against Powell and Giuliani (and the
voluminous exhibits supporting those complaints) so that there is absolutely no doubt in the
future that you are fully aware of the facts and that you know your accusations about Dominion
are false.23

        In addition, in light of the pending and forthcoming litigation about these matters, you must
preserve and retain all documents, data, and electronically stored information relating in any way to
Dominion or the disinformation campaign about it. You must preserve these items regardless of
the medium, format, or device on which they are stored or hosted, and regardless of whether they
appear in documents, drafts, notes, calendar entries, emails, text messages, voicemails, social media
posts, or in any other form. Failure to preserve these documents could subject you to significant
penalties. This letter is not a full recitation of Dominion’s rights, which it expressly reserves.

                                                            Regards,




                                                            Thomas. A. Clare, P.C.




                                                            Megan L. Meier




22
    Craig Mauger, Michigan election officials slam report on votes in Antrim County, The Detroit
News (Dec. 14, 2020), available at, https://www.detroitnews.com/story/news/politics/2020/12/14/michigan-judge-
allows-release-report-antrim-county-voting/6537394002/.
23
    Dominion’s complaints against Sidney Powell and Rudy Giuliani are available here
https://beta.documentcloud.org/documents/20445944-dominion-voting-systems-v-sidney-powell        and        here
https://beta.documentcloud.org/documents/20463211-govuscourtsdcd22648510_1.



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